           EXHIBIT G




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5/20/22, 4:42 PM                                                        Real Estate - Summary

 iRecordWeb REAL Instrument Summary                                                                    User: GUEST Logout
 Gloria Boyer
                                                                                                                     I:NA
 Platte County, Missouri - Recorder of Deeds

 Platte County Recorder of Deeds                                                                (816) 858-3326 Office
 415 3rd St                                                                                       (816) 858-2379 Fax
 Platte City, MO 64079

  Document recording information
  Instrument                           DT TRUST - DEED OF TRUST
  Document No.                         1993008956
  Book                                 792
  Page                                 928
  Recording Date                       6/21/1993 3:03:00 PM
  Dated date                           6/21/1993
  Page Count                           0
  Referenced Amount                    $77,507.00

 Grantor(s) (4)
  KRIZ, CARL T
  YOAKUM-KRIZ, BRENDA A FKA
  YOAKUM, BRENDA A
  KRIZ, BRENDA A YOAKUM-

 Grantee(s) (1)
  SWARTZ BROTHERS & COMPANY INC

 Legal Description(s) (1) - Do not use the summaries below on legal documents
  LT 60 HIDDEN VALLEY


 References To This Document (3)
  Book: 792 Page: 929 DT ASSIGN 06/21/1993
  Book: 830 Page: 40 DT ASSIGN 06/23/1995
  Book: 930 Page: 400 DR DR 07/31/2000


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